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                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                               100 EAST FIFTH STREET, ROOM 540
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                                                Filed: November 19, 2021

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                    Re: Case No. 21-5915/21-5916/21-5999/21-6007, G.S., et al v. Bill Lee
                        Originating Case No. : 2:21-cv-02552

  Dear Counsel,

     The Court issued the enclosed Order today in this case.

                                                  Sincerely yours,

                                                  s/C. Anthony Milton
                                                  Case Manager
                                                  Direct Dial No. 513-564-7026

  cc: Mr. Thomas M. Gould
      Ms. Lynda M. Hill
      Ms. LeAnna Wilson

  Enclosure

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                                     Nos. 21-5915/5916/5999/6007                     FILED
                                                                                  Nov 19, 2021
                              UNITED STATES COURT OF APPEALS                 DEBORAH S. HUNT, Clerk
                                   FOR THE SIXTH CIRCUIT


  G.S., et al. (21-5915); M.B., et al. (21-          )
  5916/6007); R.K., et al. (21-5999); ,              )
                                                     )
         Plaintiffs-Appellees,                       )
                                                     )
  v.                                                 )             ORDER
                                                     )
  GOVERNOR BILL LEE (21-5915/5916/5999),             )
                                                     )
         Defendant-Appellant                         )
                                                     )
  and                                                )
                                                     )
                                                     )
  KNOX COUNTY BOARD OF EDUCATION                     )
  (21-6007),                                         )
                                                     )
         Defendant-Appellant.                        )
                                                     )


         In Case Nos. 21-5915/5916/5999, the Governor of Tennessee appeals an order

  preliminarily enjoining enforcement of an executive order allowing parents to opt out of mask

  mandates implemented by local authorities. In Case No. 21-6007, the Knox County Board of

  Education appeals orders preliminarily enjoining, and denying a motion to alter or amend,

  enforcement of an executive order allowing parents to opt out of school mask mandates

  implemented by local entities. In Case Nos. 21-5915/5916/5999, the parties jointly move to

  consolidate the cases for purposes of briefing and submission.

         Upon review, the parties’ joint motions are GRANTED, and Case Nos. 21-

  5915/5916/5999 are consolidated for purposes of briefing and submission. The parties’ proposed

  briefing schedule is adopted and will be entered by separate letter. Any decision regarding oral




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                                      21-5915/5916/5999/6007
                                               -2-

  argument, including whether it is granted, the structure thereof, and the time allotted, is reserved

  to the ultimate merits panel.

         In light of the commonality of parties and issues, Case No. 21-6007 will be submitted to

  the same panel for consideration on the same date as the consolidated cases.



                                              ENTERED PURSUANT TO RULE 45(a)
                                              RULES OF THE SIXTH CIRCUIT




                                                Deborah S. Hunt, Clerk




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